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                    Exhibit A
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Docket Entry          Non-Party Does                                                Plaintiff’s Position
144-6          J. Doe 171                           Unseal. Note: this document was partially unsealed in prior round of unsealing.
150-1          J. Doe 183, J. Doe 171               Unseal. Note: this document was partially unsealed in prior round of unsealing.
153-1          J. Doe 171                           Unseal. Note: this document was partially unsealed in prior round of unsealing.
172            J. Doe 171, J. Doe 28                Unseal, but redact J. Doe 28’s name on page 13. Note: this document was partially
                                                    unsealed in prior round of unsealing.
173-5          J. Doe 144, J. Doe 183, J. Doe       Unseal, but redact J. Doe 28’s name. Note: this document was partially unsealed by
               171, J. Doe 28                       the Second Circuit.
173-6          J. Doe 144, J. Doe 183, J. Doe       Unseal. Note: this document was partially unsealed in prior round of unsealing.
               171, J. Doe 28
185-3          J. Doe 171                           Document unsealed in full in prior round of unsealing.
185-11         J. Doe 144, J. Doe 97                Unseal. Note: this document was partially unsealed in prior round of unsealing and
                                                    was partially unsealed by the Second Circuit.
185-15         J. Doe 183, J. Doe 171               Unseal. Note: this document was partially unsealed in prior round of unsealing.
203            J. Doe 171, J. Doe 28                Unseal. Note: this document was partially unsealed in prior round of unsealing.
211            J. Doe 171, J. Doe 28                Unseal. Note: this document was partially unsealed in prior round of unsealing.
224            J. Doe 171, J. Doe 28                Unseal. Note: this document was partially unsealed in prior round of unsealing.
228            J. Doe 171                           Unseal. Note: this document was partially unsealed in prior round of unsealing.
232-7          J. Doe 144                           Unseal. Note: this material was unsealed by the Second Circuit and in prior round of
                                                    unsealing.
235-4          J. Doe 144, J. Doe 97, J. Doe 171,   Unseal. Note: this document was partially unsealed in prior round of unsealing.
               J. Doe 107
235-12         J. Doe 107                           Unseal. Note: this document was partially unsealed in prior round of unsealing.
235-13         J. Doe 171                           Unseal. Note: this document was partially unsealed in prior round of unsealing.
247-2          J. Doe 144                           Unseal. Note: this material was unsealed by the Second Circuit and in prior round of
                                                    unsealing.
249-4          J. Doe 171, J. Doe 28                Unseal. Note: this document was partially unsealed in prior round of unsealing.
249-13         J. Doe 144, J. Doe 97, J. Doe 183,   Unseal. Note: this document was partially unsealed in prior round of unsealing.
               J. Doe 171, J. Doe 28, J. Doe 107
272-5          J. Doe 171                           Unseal. Note: this document has already been published as DE 45.
280-1          J. Doe 144, J. Doe 97, J. Doe 183,   Unseal. Note: this document was partially unsealed in prior round of unsealing.
               J. Doe 171, J. Doe 28, J. Doe 107
315            J. Doe 183                           Unseal. Note: J. Doe 183 does not object to unsealing; this document was partially
                                                    unsealed in prior round of unsealing.
316-7          J. Doe 183                           Unseal. Note: this document was partially unsealed in prior round of unsealing.
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Docket Entry          Non-Party Does                                                Plaintiff’s Position
320            J. Doe 171                           Unseal. Note: this document was partially unsealed in prior round of unsealing.
321-1          J. Doe 144, J. Doe 97, J. Doe 183,   Unseal. Note: this document was partially unsealed in prior round of unsealing.
               J. Doe 171, J. Doe 28
321-5          J. Doe 144, J. Doe 97 J. Doe 183,    Unseal. Note: this document was partially unsealed in prior round of unsealing.
               J. Doe 28, J. Doe 107
321-6          J. Doe 144, J. Doe 183, J. Doe       Unseal. Note: this document was partially unsealed in prior round of unsealing.
               171, J. Doe 28
338            J. Doe 28                            Unseal, but redact J. Doe 28’s name. Note: this document was partially unsealed in
                                                    prior round of unsealing.
338-3          J. Doe 28                            Unseal. Note: this document was partially unsealed in prior round of unsealing.
338-6          J. Doe 28                            Unseal. Note: this document was partially unsealed in prior round of unsealing.
338-7          J. Doe 28                            Unseal, but redact J. Doe 28’s name.
339            J. Doe 183, J. Doe 171, J. Doe 28    Unseal. Note: this document was partially unsealed in prior round of unsealing.
340-3          J. Doe 183, J. Doe 171, J. Doe 28    Unseal. Note: this document was partially unsealed in prior round of unsealing.
340-4          J. Doe 183                           Unseal. Note: this document was partially unsealed in prior round of unsealing.
353            J. Doe 28                            Unseal. Note: this document was partially unsealed in prior round of unsealing.
363-7          J. Doe 144, J. Doe 97, J. Doe 183,   Unseal. Note: this document was partially unsealed in prior round of unsealing.
               J. Doe 171, J. Doe 28, J. Doe 107
368            J. Doe 183                           Unseal. Note: this document was partially unsealed in prior round of unsealing.
369-1          J. Doe 144, J. Doe 183, J. Doe       Unseal. Note: this document was partially unsealed in prior round of unsealing.
               171, J. Doe 28
369-5          J. Doe 171, J. Doe 28                Unseal, but redact J. Doe 28’s name.
369-10         J. Doe 183                           Unseal. Note: J. Doe 183 does not object to unsealing; this document was released
                                                    without redactions.
407-4          J. Doe 171                           Unseal. Note: this document was partially unsealed in prior round of unsealing.
407-9          J. Doe 171                           Unseal.
407-10         J. Doe 183                           Unseal. Note: J. Doe 183 does not object to unsealing; this document was released
                                                    without redactions.
423-4          J. Doe 144, J. Doe 97, J. Doe 183,   Unseal.
               J. Doe 171, J. Doe 28, J. Doe 107
435            J. Doe 144                           Unseal. Note: this document was partially unsealed in prior round of unsealing.
450-1          J. Doe 97, J. Doe 171, J. Doe 28     Unseal, but redact J. Doe 28’s name. Note: this document was partially unsealed by
                                                    the Second Circuit.
482-1          J. Doe 28                            Unseal. Note: this document was partially unsealed in prior round of unsealing.

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Docket Entry          Non-Party Does                                               Plaintiff’s Position
510-3          J. Doe 144                          Unseal. Note: this material was unsealed by the Second Circuit.
514-3          J. Doe 144                          Unseal. Note: this material was unsealed by the Second Circuit.
515            J. Doe 183                          Unseal. Note: Doe 183 does not object to unsealing.
591            J. Doe 147                          Plaintiff takes no position.
576            J. Doe 147                          Plaintiff takes no position.
640            J. Doe 147                          Plaintiff takes no position.
641            J. Doe 147                          Plaintiff takes no position.
641-2          J. Doe 147                          Plaintiff takes no position.
655            J. Doe 147                          Plaintiff takes no position.
656            J. Doe 147                          Plaintiff takes no position.
656-1          J. Doe 147                          Plaintiff takes no position.
656-2          J. Doe 147                          Plaintiff takes no position.
656-3          J. Doe 147                          Plaintiff takes no position.
656-4          J. Doe 147                          Plaintiff takes no position.
656-5          J. Doe 147                          Plaintiff takes no position.
656-6          J. Doe 147                          Plaintiff takes no position.
656-7          J. Doe 147                          Plaintiff takes no position.
656-8          J. Doe 147                          Plaintiff takes no position.
656-9          J. Doe 147                          Plaintiff takes no position.
700            J. Doe 147                          Plaintiff takes no position.
701-1          J. Doe 144, J. Doe 147, J. Doe 12   Plaintiff takes no position.
701-2          J. Doe 147                          Plaintiff takes no position.
707            J. Doe 147                          Plaintiff takes no position.
708            J. Doe 147                          Plaintiff takes no position.
714            J. Doe 147                          Plaintiff takes no position.
715            J. Doe 147                          Plaintiff takes no position.
715-2          J. Doe 147                          Plaintiff takes no position.
947            J. Doe 147                          Plaintiff takes no position.
947-1          J. Doe 147, J. Doe 12               Plaintiff takes no position.




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